Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 1 of 34




               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLORADO

 IN RE                                    Civil Action No. 23-cv-1888-REB
 CHRISTOPHER PATRICK BOYD
             Debtor.


 HEMP RECOVERY, LLC,                      Bankr. Case No. 22-012445-TBM
             Plaintiff/Appellee,          Adv. Proc. No. 22-01258-TBM
     v.
 CHRISTOPHER PATRICK BOYD,
             Defendant/Appellant.


   APPELLEE HEMP RECOVERY COMPANY, LLC’S ANSWER BRIEF



 December 15, 2023.                      Respectfully submitted,
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Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 2 of 34




                                   TABLE OF CONTENTS

 TABLE OF AUTHORITIES..……………………...…………………...…….iii – v

 I.     CORPORATE DISCLOSURE.......................................................................1

 II.    STATEMENT OF THE ISSUES...................................................................1

 III.   STANDARD OF REVIEW............................................................................1

 IV.    STATEMENT OF THE CASE……………....……………………………...3

        A.     The Relevant Parties ……………………………………....................3

        B.     The Processing Agreement ……………………………………..........3

        C.     The State Court Action………………………………………….........5

        D.     The State Court Appeal……………………………………................7

        E.     The Bankruptcy Case..…………………………………………….....8

        F.     The Adversary Proceeding……………………………………….......8

               1.      The Motion for Summary Judgment and Related Briefing…...9

               2.      The Order on Summary Judgment…………..……………….10

 V.     SUMMARY OF ARGUMENT…..…………...…………………...………13

        A.     The Doctrine of Collateral Estoppel Precludes Re-litigating the
               Legal and Factual Issues Decided in the State Court Action …….....13

        B.     The Appellant’s Misrepresentations were not Related to the
               Appellant’s Financial Condition……………………….....................13

        C.     The Rooker-Feldman Doctrine Precludes Appellant’s Collateral
               Attacks on the State Court Rulings……………………………….....14

 VI.    ARGUMENT….…………………………………………………………...15

                                                   i
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 3 of 34




      A.    Relevant Statute………….................................................................15

      B.    Collateral Estoppel Precludes Re-litigating the Factual and Legal
            Determinations from the State Court Action ………………………16

      C.    Appellant’s Misrepresentations were not Statements as to
            Appellant’s Financial Condition…………………………………....18

      D.    The Rooker-Feldman Doctrine Precludes the Appellant’s
            Champerty and Party-in-Interest Defenses………………………....21

 VII. CONCLUSION...……………………………………………………….....26




                                               ii
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 4 of 34




                               TABLE OF AUTHORITIES

 STATUTES

   Federal Statutes

      11 U.S.C. §523.....................1, 8, 9, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21

 CASES

 U.S. Supreme Court Decisions

      Davis v. Wakelee, 156 U.S. 680 (1895).......................................................24

      Exxon Mobile Corp. v. Saudi Basic Industries Corp.,
      544 U.S. 280 (2005)....……………..………………………………….......22

      Field v. Mans, 516 U.S. 59 (1995).........................................................11, 17

      Grogan v. Garner, 498 U.S. 279 (1991)......................................................17

      Lamar, Archer & Cofrin, LLP v. Appling, 138 S. Ct. 1752 (2018).......19, 20

      New Hampshire v. Maine, 532 U.S. 742 (2001)…………………………..24

 Circuit Court Decisions

      Adler v. Wal-Mart Stores, Inc., 144 F.3d 664 (10th Cir. 1998).....................2

      Dillon v. Fibreboard Corp., 919 F.2d 1488 (l0th Cir. 1990).........................2

      Eastman v. Union Pac. R. Co., 493 F.3d 1151 (10th Cir. 2007)..................25

      Fowler Bros. v. Young (In re Young), 91 F.3d 1367 (10th Cir. 1996)..........17

      Garrett v. Hewlett-Packard Co., 305 F.3d 1210 (10th Cir. 2002).................2

      Whitesel v. Sengenberger, 222 F.3d 861 (10th Cir. 2000).............................2



                                                 iii
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 5 of 34




 District Court Decisions

       In re Cupit. 541 B.R. 739 (D. Colo. 2015)……………………………...1, 2

       In re Hansen, 131 B.R. 167 (D. Colo. 1991)...............................................17

 BAP Decisions

       In re Johnson, 477 B.R. 156 (10th Cir. BAP 2012)………………...............2

 Bankruptcy Court Decisions

       In re Barnhart, 112 B.R. 392 (Bankr. D. Colo. 1990).................................18

       In re Bloom, 622 B.R. 366 (Bankr. D. Colo. 2020).....................................18

       In re Lynch, 315 B.R. 173 (Bankr. D. Colo. 2004).………………….........16

       In re Toney, 2011 WL 2560249 (Bankr. D. Colo. 2011).............................18

 State Court Decisions

       Alien, Inc. v. Futterman, 924 P.2d 1063 (Colo. App. 1995)........................23

       Antelope Co. v. Mobil Rocky Mountain, Inc.,
       51 P.3d 995 (Colo. App. 2001)....................................................................16

       Blood v. Qwest Services Corp., 224 P.3d 301 (Colo. App. 2009)...............23

       Kinsey v. Preeson, 746 P.2d 542 (Colo. 1987)............................................17

       Town of Carbondale v. GSS Properties, LLC,
       169 P.3d 675 (Colo. 2007)...........................................................................23

       Univex Int'l, Inc. v. Orix Credit All., Inc.,
       902 P.2d 877 (Colo. App. 1995)..................................................................23

 RULES

       C.R.C.P. 8....................................................................................................23

                                                          iv
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 6 of 34




      Fed.R.Bankr.P. 7056………………………………………………………..2

      Fed.R.Bankr.P. 8015....................................................................................27

      Fed.R.Civ.P. 56……………………………………………....................2, 10

      L.B.R. 7056-1………………………………………………………..........10




                                                      v
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 7 of 34




                          I.     CORPORATE DISCLOSURE

       Hemp Recovery Company, LLC (“HRC”) is not a publicly held corporation

 or publicly held entity. No publicly held corporation or entity holds stock or any

 other interest in Hemp Recovery.

                         II.     STATEMENT OF THE ISSUES

 A.    Whether the Bankruptcy Court correctly applied the doctrine of collateral

 estoppel in holding the Debtor’s debt to HRC was non-dischargeable under 11

 U.S.C. §523(a)(2)(A).

 B.    Whether     the     Bankruptcy   Court    correctly   held   the    Debtor’s

 misrepresentations were not related to the Debtor’s financial condition and

 therefore outside of the exception of 11 U.S.C. §523(a)(2)(A).

 C.    Whether the Bankruptcy Court properly held the Rooker-Feldman doctrine

 precluded the Debtor’s champerty and party-in-interest defenses.

                          III.   STANDARD OF REVIEW

       The Bankruptcy Court’s conclusions of law are subject to a de novo review.

 In re Cupit, 541 B.R. 739, 744 (D. Colo. 2015). The Bankruptcy Court’s factual

 findings are reviewed under a “clear error” standard. Id. Thus, the reviewing court

 must defer to the Bankruptcy Court’s factual findings “unless it is without factual

 support in the record or, after examining all the evidence, we are left with a




                                          1
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 8 of 34




 definite and firm conviction that a mistake has been made.” Id. at 745 (quoting In

 re Johnson, 477 B.R. 156, 168 (10th Cir. BAP 2012)).

       Rule 56, Fed.R.Civ.P., is made applicable to adversary proceedings under

 Fed.R.Bankr.P. 7056. Rule 56(a) allows a party to move for summary judgment on

 a “claim or defense” or even “part of [a] claim or defense.” Under Rule 56(c),

 summary judgment is proper “if the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show

 that there is no genuine issue as to any material fact and that the moving party is

 entitled to a judgment as a matter of law.”

       The moving party “bears the initial burden of making a prima facie

 demonstration of the absence of a genuine issue of material fact.” Whitesel v.

 Sengenberger, 222 F.3d 861, 866-67 (10th Cir. 2000); Adler v. Wal-Mart Stores,

 Inc., 144 F.3d 664, 670-71 (10th Cir. 1998). The Court must examine the factual

 record in the light most favorable to the non-moving party. Garrett v. Hewlett-

 Packard Co., 305 F.3d 1210, 1213 (10th Cir. 2002); Dillon v. Fibreboard Corp.,

 919 F.2d 1488, 1490 (l0th Cir. 1990). If the movant successfully carries its initial

 burden, the burden of persuasion shifts to the non-moving party to “go beyond the

 pleadings and set forth specific facts,” supported by evidence, “from which a

 rational trier of fact” could find for the non-movant. Whitesel, 222 F.3d at 867.




                                           2
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 9 of 34




                              IV.     STATEMENT OF THE CASE

 A.       The Relevant Parties

         DD Needle Rock Farms, LLC (“NRF”) is a Colorado limited liability

 company engaged in the business of growing and selling industrial Hemp. Record

 on Appeal (“R.”) at 103 1, ¶8. Adam Desmond (“Mr. Desmond”) is a member and

 manager of NRF. Id.

         HRC is a Colorado limited liability company and the assignee of certain

 claims against Christopher Patrick Boyd (“Appellant”) belonging to Mr. Desmond

 and NRF as more fully described herein. Id.

         The Appellant is the debtor in the underlying Bankruptcy Case, as well as

 the defendant Adversary Proceeding from which this appeal arises. Id. at 1, 5, and

 48 at ¶4. Foothills Ventures, LLC (“Foothills Ventures”) is a Colorado limited

 liability company organized by the Appellant in June 2017. Id. at 103 at ¶9.

 Appellant is the principal and majority owner of Foothills Ventures. Id. at 292:9-

 11. Foothills Ventures processes industrial Hemp into cannabidiol (“CBD”) oil and

 CBD oil-based products. Id., at 103 at ¶9 and 104 at ¶14

 B.      The Processing Agreement

         In the summer of 2017, Mr. Desmond and his wife (collectively, the

 “Desmonds”) were introduced to the Appellant and his father, Alan Boyd. Id. at

 1
  The Record on Appeal consists of a single volume totaling 394 pages. Unless otherwise noted, page number
 citations refer to the page within the total record—i.e. pg. 103 of 394.

                                                        3
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 10 of 34




 276:24-25. The Desmonds, the Appellant, and Mr. Alan Boyd discussed entering

 two different ventures, including one in which the Appellant and Mr. Alan Boyd,

 through Foothills Ventures, would process the majority of NRF’s 2017 hemp crop

 into CBD oil. Id., at 277:1:5.

       In the course of the discussions, the Appellant represented to the Desmonds,

 among other things, that Foothills Ventures had the present capacity to

 extract/process NRF’s Hemp. Id. at 278:3:7 and 284:17-21. Relying on these

 representations, on or about August 19, 2017, Mr. Desmond, on behalf of NRF and

 the Appellant, and Mr. Alan Boyd, on behalf of Foothills Ventures, entered into a

 hemp processing agreement (the “Processing Agreement”). Id. at 282:22-24 and

 284:17-21.

       Pursuant to the Processing Agreement, NRF provided Foothills Ventures

 with approximately 4,415 pounds of industrial Hemp (the “Hemp”). Id., at 282:24-

 25 – 283:1-2. Foothills Ventures, in turn, was obligated to extract CBD oil from

 the Hemp. Id. The resulting CBD oil, any products made using the CBD oil, and/or

 any profits derived from the CBD oil would be evenly split between NRF and

 Foothills Ventures. Id. at 283:2.

       In October and November 2017, Foothills Ventures took possession of the

 Hemp, which was held in 126 barrels belonging to NRF. Id. at 104, ¶16 and at

 304:12-16. Foothills Ventures, however, failed to process the Hemp; failed to


                                         4
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 11 of 34




 provide NRF with its portion of the CBD oil; failed to return the Hemp and the

 barrels; and failed to pay NRF for the value of the Hemp and the barrels. Id. at

 292:21-24 and 304:12-16.

 C.    The State Court Action

       On February 6, 2019, HRC, as the assignee of the Desmonds and NRF, filed

 suit against the Appellant, Mr. Alan Boyd, Foothills Ventures, and others in the

 District Court, City and County of Denver, Colorado Case No. 2019CV30498 (the

 “State Court Action”). Id. at 102 – 112. As relevant here, HRC asserted claims

 against the Appellant for false representation, nondisclosure and concealment, and

 negligent misrepresentation (collectively, the “Fraud Claims”) for failing to

 disclose material facts to the Desmonds prior to NRF entering into the Processing

 Agreement. Id.

       The misrepresentations and omissions included, but were not limited to,

 Foothills Ventures having the present ability to process the entirety of NRF’s

 Hemp; failing to disclose Mr. Alan Boyd’s prior felony convictions, jail time, and

 restitution requirements; and failing to disclose Foothills Ventures was not

 properly licensed with the State of Colorado to process industrial Hemp at the time

 NRF and Foothills Ventures entered the processing agreement. Id., at 284:1-6 and

 17-21; 285:2-4; 302:16-21; and 128:16-22.




                                          5
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 12 of 34




       Notably, the Appellant failed to allege that HRC was not the proper party-in-

 interest as part of its affirmative defenses. Id. at 319 – 320.

       The State Court Action went to a bench trial from January 13th to 15, 2020.

 At the conclusion of the trial, the State Court issued findings of fact and

 conclusions of law from the bench (the “Oral Ruling”). See generally, Id. at 268 –

 309. The State Court found the following:

           a. NRF and Foothills Ventures entered the Processing Agreement
              on or about August 19, 2017. Id. at 282:22-24.

           b. Foothills Ventures did not obtain its extraction license until
              January 2018. Id., at 284:1-6.

           c. “[T]here was a misrepresentation from the very beginning”
              made by the Appellant and Mr. Alan Boyd to Mr. Desmond.
              Id., at 285:2-5.

           d. Mr. Alan Boyd “intentionally omitted” his prior felony
              conviction in an effort to induce NRF and Mr. Desmond to
              enter into the Processing Agreement. Id., at 302:18-20.

           e. Mr. Desmond entered into the Processing Agreement “because
              of representations [the Appellant] and [Mr. Alan Boyd] made to
              [Mr. Desmond] that [Foothills] Ventures, at that moment, had
              the capacity to extract.” Id., at 284:17-21.

       Due to the foregoing misrepresentations, the State Court concluded that

 HRC “proved [its] common law fraud type claims against Alan Boyd as to both

 buckets. As to -- and as against Christopher Boyd as to the hemp bucket.” Id., at

 303:14-16 (emphasis added).



                                             6
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 13 of 34




       On January 16, 2020, the Court entered an Order (the “State Court Order”)

 which stated, in relevant part:

              Plaintiff has proved its Fourth Claim for Relief (False
              Representation), Fifth Claim for Relief (Nondisclosure and
              Concealment), and Sixth Claim for Relief (Negligent
              Misrepresentation) as against all non-defaulting Defendants.

 Id. at 322. On February 11, 2020, the State Court entered Judgment on the Fraud

 Claims in favor of HRC and against Appellant in the amount of $337,306.85 (the

 “State Court Judgment”). Id. at 325.

 D.    State Court Appeal

       On March 5, 2020, the Appellant appealed the Judgment to the Colorado

 Court of Appeals, Case No. 2020CA451 (the “State Court Appeal”). Id. at 50 at

 ¶50. The lone issue on appeal was whether the State Court erred in holding

 Appellant and Foothills Ventures liable to HRC based on the conclusion Mr. Alan

 Boyd was an agent of the Appellant and Foothills Ventures. Id., pg. 330 – 31.

       On September 9, 2021, the Court of Appeals affirmed the Judgment (the

 “Appellate Opinion”). See generally, Id. at 327 – 336. The Court of Appeals held

 that it appeared the trial court determined Appellant made false representations to

 Mr. Desmond. Id. at 331, fn. 3. However, even if the trial court did not find

 Appellant made direct misrepresentations to Mr. Desmond, the Court of Appeals

 held there was “more than sufficient evidence…that [Mr. Alan Boyd] possessed

 apparent authority” to act on behalf of Appellant and Foothills Ventures. Id. at 334.

                                           7
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 14 of 34




        Accordingly, the Court of Appeals held that to the extent Appellant’s

 liability on the Fraud Claims was based on the Court’s conclusion Mr. Alan Boyd

 was the agent for Appellant and Foothills Ventures, there was no error on the part

 of the trial court. Id. at 336.

 E.     The Bankruptcy

        On July 8, 2022, the Appellant petitioned for relief under Chapter 13 of Title

 11 of the United States Code. Id. at 5. The Appellant scheduled an undisputed,

 noncontingent, liquidated debt to HRC in the amount of $393,811.95 arising from

 the State Court Judgment. Id. at 31. On January 12, 2023, the Bankruptcy Court

 confirmed the Appellant’s second “Chapter 13 Plan Including Valuation of

 Collateral and Classification of Claims” (the “Second Plan”). Id. at 368 – 69. Per

 the terms of the Second Plan, the Appellant would pay $8,538.00 to his two

 creditors, which would result in HRC recovering 2.5% of its total claim. Id. at 369.

 F.     The Adversary Proceeding

        On October 24, 2022, HRC initiated an Adversary Proceeding, Case No. 22-

 1258-TBM, seeking a determination that the debt owed to HRC by the Appellant

 was non-dischargeable pursuant to 11 U.S.C. §523(a)(2)(A). Id. at 2 and 48 – 63.

        1.     The Motion for Summary Judgment and Related Briefing

        On May 9, 2023, HRC filed a Motion for Summary Judgment (the

 “Motion”). Id. at 80 – 96. The Motion argued the doctrine of collateral estoppel


                                           8
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 15 of 34




 precluded the Appellant from re-litigating the factual findings of the Oral Ruling,

 the State Court Order, and the State Court Judgment. Id. Such factual findings,

 moreover, were sufficient for the Bankruptcy Court to determine the debt owed by

 the Appellant to HRC is non-dischargeable under Section 523(a)(2)(A). Id.

       In response, the Appellant asserted, among other arguments, that there were

 sufficient differences between the elements of common law fraud under Colorado

 law and the elements of a claim under Section 523(a)(2)(A) to preclude the

 application of collateral estoppel. Id. at 338-353. Most notably, the Appellant

 argued Colorado common law fraud required showing “reasonable” reliance, while

 Section 523(a)(2)(A) required “justifiable” reliance. Id. Furthermore, Appellant

 asserted Section 523(a)(2)(A) precludes oral statements as to financial condition,

 but Colorado law contains no such restriction. Id. Appellant contended the

 differences between the Bankruptcy Code and Colorado law rendered collateral

 estoppel inapplicable. Id. The Appellant further argued the doctrine of champerty

 precludes the assignment of an intentional tort and, therefore the assignment of

 claims from NRF and Mr. Desmond to HRC was unenforceable. Id. As such, the

 real parties-in-interest were the Desmonds, not HRC, and the debt was, therefore,

 subject to discharge. Id.

       2.     The Order on Summary Judgment




                                          9
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 16 of 34




       On July 10, 2023, the Bankruptcy Court entered its “Order on Plaintiff’s

 Motion for Summary Judgment” (the “Bankruptcy Court Order”). Id. at 366 – 385.

 As an initial matter, the Bankruptcy Court determined the Appellant failed to

 dispute or otherwise controvert any of the supporting facts set forth in the Motion

 as required by Fed.R.Civ.P. 56(e) and L.B.R. 7056-1(b) and (c). Id. at 371 – 373.

 Accordingly, the Bankruptcy Court accepted as “‘undisputed’ each of the 36

 alleged undisputed facts identified by HRC” in the Motion. Id. at 373.

       On the issue of collateral estoppel, the Bankruptcy Court explained collateral

 estoppel applies where: (1) the issue before the court is identical to an issue

 actually and necessarily litigated and adjudicated in the prior proceeding; (2) the

 party against whom estoppel is being sought was a party (or in privity to a party)

 from the prior proceeding; (3) the prior proceeding resulted in a judgment on the

 merits; and (4) the party against whom estoppel is sought had a full and fair

 opportunity to litigate the issue in the prior proceeding. Id. at 378.

       The only issue to be resolved by the Bankruptcy Court was “whether the

 issue to be precluded is identical to an issue actually and necessarily determined in

 the [State Court Action].” Id. at 379. In other words, whether the elements of

 Colorado common law fraud were identical to the elements of a claim under

 Section 523(a)(2)(A). Id.




                                            10
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 17 of 34




       Turning to Colorado common law, the Bankruptcy Court noted that

 Colorado courts had long treated justifiable and reasonable as synonymous. Id. at

 380. Rather than resolve whether “reasonable” and “justifiable” were

 interchangeable under Colorado, the Bankruptcy Court “accept[ed] the

 [Appellant’s] argument that Colorado employs a ‘reasonable reliance’ standard.”

 Id. Moving to federal law, the Bankruptcy Court, citing Field v. Mans, 516 U.S. 59

 (1995), found Section 523(a)(2)(A) required “justifiable reliance.” Id. at 381.

       The Bankruptcy thus provided Appellant all benefit of the doubt—namely,

 Colorado law requires “reasonable reliance” while Section 523(a)(2)(A) employs a

 “justifiable reliance standard. Id. Such distinction, however, did not benefit the

 Appellant, because “justifiable” is a lower standard than “reasonable.”           Id.

 Accordingly, a conclusion of reasonable reliance “is more than sufficient to meet

 the Section 523(a)(2)(A) requirement.” Id. at 382.

       The Bankruptcy Court concluded: “There is no daylight between the State

 Trial Court’s prior adjudication and what Section 523(a)(2)(A) mandates.” Id. at

 382. Collateral estoppel thus precluded the Appellant from re-litigating the issues

 resolved by the State Court. Id.

       The Bankruptcy Court found Appellant’s additional arguments equally

 unavailing. The Bankruptcy Court held Appellant’s misrepresentations—namely,

 the misrepresentation that Foothills Ventures had the present capacity to process


                                          11
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 18 of 34




 the Hemp—was not a representation as to Appellant’s financial condition. Id. at

 383.

        The Bankruptcy Court then quickly disposed of the Appellant’s champerty

 argument. The Rooker – Feldman doctrine, the Bankruptcy Court noted, prohibits

 federal courts from reviewing final judgments rendered in prior state court

 litigation. Id. at 383 – 84. The Appellant failed to raise the defense of standing or

 champerty during trial. Id. at 384. The Bankruptcy Court thus found the

 Appellant’s champerty argument was an impermissible attack on the Oral Ruling,

 the State Court Order, and the State Court Judgment. Id.

        Based on the undisputed facts, the Bankruptcy Court held HRC carried its

 legal burden. Id. at 384 – 85. Accordingly, the Bankruptcy Court granted the

 Motion. Id. Thereafter, the Bankruptcy Court entered a judgment declaring the

 State Court Judgment was non-dischargeable under Section 523(a)(2)(A) (the

 “Bankruptcy Court Judgment”). Id. at 386. This Appeal ensued. Id. at 387 – 89.




                                          12
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 19 of 34




                         V. SUMMARY OF ARGUMENT

 A.    The Doctrine of Collateral Estoppel Precludes Re-litigating the Legal
       and Factual Issues Decided in the State Court Action.

       The Bankruptcy Court properly applied the doctrine of collateral estoppel to

 the facts and law at bar. The sole issue raised in this Appeal is whether the

 Bankruptcy Court erred in holding the elements of a cause of action for common

 law fraud are identical to those for a claim under Section 523(a)(2)(A). Appellant

 asserts Section 523(a)(2)(A)’s exception for verbal statements respecting the

 debtor’s financial condition is not found in Colorado common law, and therefore,

 collateral estoppel is inapplicable.

       However, bankruptcy courts have repeatedly held that the elements of

 Section 523(a)(2)(A) claim are identical to those of a claim for fraud under

 Colorado common law, notwithstanding the limited exception for oral

 representations respecting financial condition. Thus, the Bankruptcy Court

 properly applied the doctrine of collateral estoppel.

 B.    The Appellant’s Misrepresentations were not Related to the Appellant’s
       Financial Condition.

       The Bankruptcy Court correctly held that the Appellant’s misrepresentations

 as to Foothills Ventures present capacity to process the Hemp was not a statement

 respecting the Appellant’s financial condition.




                                           13
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 20 of 34




       Appellant asserts the Appellant’s misrepresentations as to Foothills

 Venture’s ability to process the Hemp were statements concerning financial

 condition. Such statements, Appellant argues, are inadmissible for purposes of

 Section 523(a)(2)(A).

       A statement respects a debtor’s financial condition when it has a direct

 relationship with the debtor’s overall financial status; most specifically, the

 debtor’s solvency or ability to repay a debt. First, the misrepresentations made by

 the Appellant related to Foothills Ventures’—not the Appellant’s—ability to

 perform its obligations under the Processing Agreement. Second, even if the

 misrepresentations referred to the Appellant, they had no bearing on the

 Appellant’s solvency or ability to pay. Consequently, the Bankruptcy Court

 correctly held the misrepresentations were not oral statements respecting the

 Appellant’s financial condition.

 C.    The Rooker-Feldman Doctrine Precludes Appellant’s Collateral Attacks
       on the State Court Rulings.

       The Bankruptcy Court properly applied the Rooker-Feldman Doctrine to

 prohibit the Appellant from raising champerty or party-in-interest defenses in the

 Adversary Proceeding.

       Appellant contends he properly preserved his champerty and party-in-

 interest defenses, and the State Court did not explicitly consider either.



                                         14
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 21 of 34




 Consequently, the Rooker – Feldman doctrine does not bar Appellant from raising

 such defenses in the Adversary Proceeding.

       The Rooker-Feldman Doctrine precludes federal courts from acting in an

 appellate capacity regarding claims decided in state court litigation. The Appellant

 failed to raise champerty or party-in-interest defenses in the State Court Action or

 in the subsequent State Court Appeal. He, therefore, waived each defense. The

 State Court entered a final judgment in favor of HRC and against the Appellant,

 which was subsequently confirmed by the Colorado Court of Appeals.

       Having failed to raise such defenses in the State Court Action, Rooker-

 Feldman prohibits the Appellant from asserting error on the part of the State Court

 based on the doctrine of champerty and/or HRC is not the proper party-in-interest

 in federal court proceedings.

                                 VI. ARGUMENT

 A.    Relevant Statute

       11 U.S.C. §523(a)(2)(A) provides:

       (a) A discharge under section 727, 1141, 1192, 1228(a), 1228(b), or
       1328(b) of this title does not discharge an individual debtor from any
       debt—

              (2) for money, property, services, or an extension, renewal, or
              refinancing of credit, to the extent obtained by—

                    (A) false pretenses, a false representation, or actual fraud
                    other than a statement respecting the debtor’s or an
                    insider’s financial condition;

                                          15
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 22 of 34




 B.    Collateral Estoppel Precludes Re-litigating the Factual and Legal
       Determinations from the State Court Action.

       It is axiomatic that this Court determines whether a specific debt is

dischargeable. In re Lynch, 315 B.R. 173, 176 (Bankr. D. Colo. 2004). However,

the doctrine of collateral estoppel, if applied to prior litigation, may preclude re-

litigating factual and legal conclusions relevant to determining the dischargeability

of a debt. Id. A party is collaterally estopped from re-litigating factual and legal

issues where:

       (1) the issue precluded is identical to an issue actually litigated and
       necessarily adjudicated in the prior proceeding; (2) the party against
       whom estoppel is sought was a party to or was in privity with a party
       to the prior proceeding; (3) there was a final judgment on the merits in
       the prior proceeding; and (4) the party against whom the doctrine is
       asserted had a full and fair opportunity to litigate the issue in the prior
       proceeding.

Antelope Co. v. Mobil Rocky Mountain, Inc., 51 P.3d 995, 1003 (Colo. App. 2001);

In re Lynch, 315 B.R. at 176.

       As in the Adversary Proceeding, Appellant focuses solely on the first

 element of the collateral estoppel analysis: whether the issue precluded is identical

 to the issue decided in the prior litigation. Appellant argues Section 523(a)(2)(A)’s

 exception for “statement[s] respecting the debtor’s or insider’s financial condition”

 distinguishes claims under Section 523(a)(2)(A) from claims under Colorado




                                           16
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 23 of 34




 common law. Appellant Brief (“App. Br.”) at 15-16. This difference, Appellant

 argues, precludes the application of collateral estoppel. Id.

       Appellant’s argument is without legal foundation. In Colorado, common law

 fraud requires showing:

       (1) a false representation of a material existing fact; (2) knowledge on
       the part of the one making the representation that it is false; (3)
       ignorance on the part of the one to whom the representation is made
       of the falsity; (4) representation made with intention that it be acted
       upon; and (5) representation resulting in damage.

 Kinsey v. Preeson, 746 P.2d 542, 550 (Colo. 1987).

       Section 523(a)(2)(A) requires proving (1) the debtor made a false

 representation; (2) the debtor intended to deceive the creditor; (3) the creditor

 relied on the representation; (4) the creditor’s reliance was justifiable; and (5) the

 debtor’s representation caused the creditor to sustain a loss. Grogan v. Garner, 498

 U.S. 279, 286-87 (1991); Field v. Mans, 516 U.S. 59, 74-75; Fowler Bros. v.

 Young (In re Young), 91 F.3d 1367, 1373 (10th Cir. 1996).

       Federal courts have repeatedly held the elements of a Section 523(a)(2)(A)

 claim are identical to those of a claim for fraud under Colorado common law,

 notwithstanding the limited exception for oral representations respecting financial

 condition. In re Hansen, 131 B.R. 167, 170 (D. Colo. 1991), aff'd, 977 F.2d 595

 (10th Cir. 1992) (“The requirements to prove a common law fraud claim in

 Colorado are the same as the elements to establish non-dischargeability under


                                           17
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 24 of 34




 §523…”); In re Toney, 2011 WL 2560249, at *4 (Bankr. D. Colo. 2011)

 (“[B]ecause the State Court found fraud under Colorado law, it also fulfilled all of

 the elements required under 11 U.S.C. §523(a)(2)(A).”(emphasis in original)); In

 re Bloom, 622 B.R. 366, 432 (Bankr. D. Colo. 2020), aff'd, 634 B.R. 559 (10th Cir.

 BAP (Colo.) 2021), aff'd, No. 22-1005, 2022 WL 2679049 (10th Cir. 2022) (“In

 fact, most courts construe the requirements of Colorado common law fraud and

 fraudulent representation under Section 523(a)(2)(A) identically.”); In re Barnhart,

 112 B.R. 392, 394 (Bankr. D. Colo. 1990)(“[T]he elements for a finding of

 common law fraud under Colorado law are the same as those under [Section

 523(a)(2)(A)].”).

       Thus, as the Bankruptcy Court noted, there is “no daylight” between the

 issues resolved in the State Court Action and the requirements of Section

 523(a)(2)(A). Accordingly, Appellant is collaterally estopped from re-litigating the

 factual and legal determinations of the Oral Ruling. The Bankruptcy Court did not

 err in granting summary judgment in favor of HRC on the basis of collateral

 estoppel. The Bankruptcy Court Order and the Bankruptcy Court Judgment should

 be affirmed.

 C.    Appellant’s Misrepresentations were not Statements as to Appellant’s
       Financial Condition.

       Appellant asserts the representations identified by the State Court in entering

 Judgment in favor HRC—namely, Appellant’s misrepresentation that Foothills

                                          18
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 25 of 34




 Ventures had the current ability to process the Hemp—were statements as to

 financial condition. App. Br. at 17-18. Appellant thus argues Bankruptcy Court

 erred in applying collateral estoppel because the State Court could rely upon

 statements as to financial condition in entering Judgment against Appellant, while

 the Bankruptcy Code specifically excepts verbal representations of financial

 condition from Section 523(a)(2)(A) analysis.

       Appellant’s argument is not persuasive. It is undisputed a statement

 regarding a debtor’s financial condition is governed by the “heightened” standards

 of 11 U.S.C. §523(a)(2)(B). Lamar, Archer & Cofrin, LLP v. Appling, 138 S. Ct.

 1752, 1761 (2018). Here, however, the Debtor’s misrepresentations were wholly

 unrelated to his personal ability to perform the obligations of the Processing

 Agreement. Rather, the State Court and the Bankruptcy Court found the Debtor

 misrepresented Foothills Ventures’ ability to satisfy its obligations under the

 Processing Agreement. R. at 278:3-7; 284:17-21; and 383.

       Appellant, in fact, concedes the misrepresentations related to Foothills

 Venture’s ability to perform the Processing Agreement. App. Br. at 17

 (“References...had to do with the ‘financial condition’ of [Foothills Ventures]. That

 is, an ability to perform.”) and 19 (HRC “represents, again and again, what appear

 to be conversations between the parties as to Appellant’s company’s (i.e.,




                                          19
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 26 of 34




 Foothills’) ability to perform...”). Appellant’s misrepresentations were in reference

 to Foothills Ventures. Accordingly, Section 523(a)(2)(A) exception does not apply.

       Furthermore, statements as Foothills Ventures ability to perform are not

 statements respecting Foothills Ventures’ (or the Appellant’s) financial condition.

 A statement respects a debtor’s financial condition where “it has a direct relation to

 or impact on the debtor’s overall financial status.” Lamar, Archer & Cofrin, LLP,

 138 S.Ct. at 1761. The key is whether the statements relate to a debtor’s solvency

 or ability to repay a debt:

       [A] creditor opposing discharge must explain why it viewed the
       debtor's false representation as relevant to the decision to extend
       money, property, services, or credit. If a given statement did not
       actually serve as evidence of ability to pay, the creditor's explanation
       will not suffice to bar discharge. But if the creditor proves materiality
       and reliance, it will be clear the statement was one ‘respecting the
       debtor's financial condition.’”

 Id.

       Whether Foothills Ventures had the present ability to process the Hemp had

 no bearing on Foothills Venture’s or Appellant’s solvency or ability to repay a

 debt. As such, the Appellant’s misrepresentations as to Foothills Ventures’

 extraction capabilities were not statements respecting the Debtor’s or Foothills

 Ventures’ financial condition. Section 523(a)(2)(A)’s exception does not apply.

       Finally, Appellant ignores the State Court’s found Appellant made multiple

 misrepresentations and omissions—not all of which pertained to Foothills


                                           20
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 27 of 34




 Venture’s ability to perform. In addition to misrepresenting Foothills Venture’s

 ability to perform, the State Court held Appellant and Mr. Alan Boyd failed to

 disclose Mr. Alan Boyd’s criminal record, and Appellant failed to disclose

 Foothills Ventures lacked a license to process Hemp at the parties entered the

 Processing Agreement. R. at 84 at ¶¶15-17. Thus, even if statements as to the

 ability to perform are statements respecting Appellant’s financial condition (which

 is denied), there are still two separate fraudulent omissions on the part of the

 Debtor that support a finding of non-dischargeability under §523(a)(2)(A).

       The Bankruptcy Court did not err in holding Appellant’s misrepresentations

 were not statements respecting Appellant’s financial condition. The Bankruptcy

 Court Order and the Bankruptcy Court Judgment should be affirmed.

 D.    The Rooker-Feldman Doctrine Precludes the Appellant’s Champerty
       and Party-in-Interest Defenses

       Appellant argues the Bankruptcy Court erred in holding the Rooker –

 Feldman doctrine bars his defenses of champerty and real party-in-interest. The

 Rooker – Feldman doctrine precludes litigants from using federal courts to

 collaterally attack state court judgments:

       Plaintiffs in Rooker and Feldman had litigated and lost in state court.
       Their federal complaints, we observed, essentially invited federal
       courts of first instance to review and reverse unfavorable state-court
       judgments. We declared such suits out of bounds, i.e., properly
       dismissed for want of subject-matter jurisdiction.



                                              21
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 28 of 34




       The Rooker–Feldman doctrine, we hold today, is confined to cases of
       the kind from which the doctrine acquired its name: cases brought by
       state-court losers complaining of injuries caused by state-court
       judgments rendered before the district court proceedings commenced
       and inviting district court review and rejection of those judgments.

 Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 283–84 (2005).

       In short, Rooker–Feldman precludes a federal court from reviewing and

 rejecting the substance of an underlying state court judgment. Yet, this is precisely

 what Appellant asks this Court (and the Bankruptcy Court before it) to do.

 Specifically, Appellant seeks a reversal of the State Court Judgment based on the

 alleged invalidity of the assignment of claims from the Desmonds to HRC.

       HRC, however, filed the State Court Action. The parties, as well as the State

 Court, knew, at all times, of the assignment. Nonetheless, Appellant waited until

 the Adversary Proceeding before asserting HRC was not the proper party-in-

 interest and asking the Bankruptcy Court to set aside the State Court Judgment.

 This is the precise scenario for which the Rooker – Feldman doctrine applies.

 Accordingly, the Bankruptcy Court correctly held Rooker – Feldman precluded

 consideration of Appellant’s champerty and real party-in-interest defenses.

       In arguing against the application of Rooker–Feldman, Appellant raises two

 related arguments. First, he asserts that because the Colorado Rules of Civil

 Procedure do not list champerty among the affirmative defenses that must be

 pleaded or they are waived, Appellant reserved such argument. App. Br. 22.


                                          22
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 29 of 34




 Second, because such affirmative defenses were never raised in the State Court

 Action, Appellant argues the State Court did not actually decide the merits of

 either defense. As such, Appellant asserts Rooker – Feldman is inapplicable.

        Both arguments are unavailing. Appellant correctly notes Rule 8(c),

 C.R.C.P., enumerates several affirmative defenses that must be asserted in an

 initial pleading, or such defenses are waived. This does not, as Appellant suggests,

 signify all other affirmative defenses are reserved, even where the defense is not

 asserted at trial.

        On the contrary, an affirmative defense “not raised in the answer or through

 a successful amendment of the answer” is waived. Town of Carbondale v. GSS

 Properties, LLC, 169 P.3d 675, 681 (Colo. 2007); Alien, Inc. v. Futterman, 924

 P.2d 1063, 1068 (Colo. App. 1995)(same); Blood v. Qwest Services Corp., 224

 P.3d 301, 327 (Colo. App. 2009)(Affirmative defense asserted in answer but not

 raised at trial is waived); Univex Int'l, Inc. v. Orix Credit All., Inc., 902 P.2d 877,

 879 (Colo. App. 1995), aff'd, 914 P.2d 1355 (Colo. 1996)(Affirmative defense not

 pleaded or raised in trial deemed waived). Appellant failed to allege champerty or

 real party-in-interest among its affirmative defenses, nor did it argue either defense

 at trial. Appellant therefore waived both defenses.

        Appellant is correct; the State Court did not explicitly consider champerty

 and real party-in-interest defenses during the trial. However, this does not render


                                           23
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 30 of 34




 Rooker–Feldman inapplicable. The State Court’s supposed “failure” to consider

 such defenses is solely due to Appellant failing to raise them in earlier pleadings as

 well as during trial. Allowing a defendant to ignore his pleading obligations and

 then use such failure as a basis to attack the Judgment in a subsequent federal

 proceeding would yield absurd results. In effect, any state court judgment would

 fall outside the scope of Rooker–Feldman if the state court failed to expressly

 consider all affirmative defenses the defendant could have raised, regardless of

 whether the defendant, in fact, raised such defenses. Rooker–Feldman would be

 virtually meaningless. Appellant’s argument should be rejected.

       Finally, principles of judicial estoppel preclude Appellant from arguing

 HRC is not the real party-in-interest. “[W]here a party assumes a certain position

 in a legal proceeding, and succeeds in maintaining that position, he may not

 thereafter, simply because his interests have changed, assume a contrary position,

 especially if it be to the prejudice of the party who has acquiesced in the position

 formerly taken by him.” New Hampshire v. Maine, 532 U.S. 742, 749 (2001)

 (quoting Davis v. Wakelee, 156 U.S. 680, 689 (1895)). Courts typically consider

 three factors to determine whether judicial estoppel applies: (1) whether the party

 adopts a position clearly inconsistent with its prior position; (2) whether accepting

 the subsequent position creates the perception the court was misled; and, (3)

 whether the party asserting the inconsistent position would gain an unfair


                                           24
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 31 of 34




 advantage if not estopped. Eastman v. Union Pac. R. Co., 493 F.3d 1151, 1156

 (10th Cir. 2007).

       HRC satisfies all elements of judicial estoppel. Appellant’s bankruptcy

 petition, which Appellant signed under penalty of perjury, listed HRC as an

 unsecured creditor holding an undisputed, noncontingent, and liquidated claim in

 the amount of $393,811.95. R. at 31 and 368. Thereafter, HRC filed a proof of

 claim in the amount of $336,218.44 (the “Proof of Claim”). Id. at 368. Appellant

 did not object to the Proof of Claim. Id. In fact, Appellant also included HRC’s

 claim in his Chapter 13 Plan. Id. at 368 – 69. Lastly, in his Answer to the

 Adversary Complaint, Appellant admitted HRC was one of his creditors. Id., pg.

 48 at ¶2 and pg. 64 at ¶2. Appellant thus admitted HRC was a creditor and the

 rightful owner of the claim.

       Now, Appellant argues HRC is not the proper party-in-interest to prosecute

 the Adversary Proceeding. Such a position contradicts the position Appellant

 adopted in his Bankruptcy Case. Furthermore, the consistent positions create the

 perception the Bankruptcy Court was misled.

       Finally, Appellant would gain a significant, unfair advantage if not estopped.

 Listing HRC as the proper holder of the claim allowed Appellant to obtain prompt

 confirmation of his Chapter 13 Plan, under which Appellant would pay HRC a

 mere 2.5% of its allowed claim. Id. at 368. Permitting Appellant to assert HRC is


                                         25
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 32 of 34




 not the proper party-in-interest allows Appellant to discharge the remaining 97.5%

 of HRC’s claim. The inconsistent positions being adopted by Appellant clearly

 provide Appellant an unfair advantage.

       Should this Court determine Rooker–Feldman does not apply, it should

 nevertheless hold Appellant is judicially estopped from asserting HRC is not the

 real party-in-interest.

       The Bankruptcy Court Order and the Bankruptcy Court Judgment should be

 affirmed.

                              VII. CONCLUSION.

       For the foregoing reasons, arguments, and authorities, HRC respectfully

 requests this Court to affirm the Bankruptcy Court Order and the Bankruptcy Court

 Judgment.

 DATED: December 15, 2023.         Respectfully submitted,
                                   BUECHLER LAW OFFICE, LLC

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                                          26
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 33 of 34




                       CERTIFICATE OF COMPLIANCE

       Pursuant to Fed.R.Bankr.P. 8015(A), I certify that this brief, starting with the
 Corporate through the Conclusion, contains 5,527 words, as counted by the
 program used to generate this brief.

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                                           27
Case No. 1:23-cv-01888-REB Document 14 filed 12/15/23 USDC Colorado pg 34 of 34




                        CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2023, I served a copy of the
 foregoing APPELLEE HEMP RECOVERY COMPANY, LLC’S ANSWER
 BRIEF on the following parties:

 Via CM/ECF:

 Stephen E. Berken




                                           /s/ Gabriel Quintero
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                                      28
